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  5                           UNITED STATES BANKRUPTCY COURT
  6                                       DISTRICT OF ARIZONA
  7
      In re                                          Chapter 13
  8
      CHRIS DANIEL CHACON, SR.,                      Case No. 2-17-bk-10439 BKM
  9
                                                     TRUSTEE'S OBJECTION TO MOTION
 10   and                                            TO EXTEND TIME TO RESPOND TO
                                                     TRUSTEE'S RECOMMENDATION
 11   LUCILLE MENDOZA CHACON,

 12                                       Debtors.
 13

 14      Russell Brown, Chapter 13 Trustee, pursuant to Local Rule of Bankruptcy Procedure 2084
 15   -10(b), objects to the Debtors' Motion to Extend Time to Respond to Trustee's
 16
      Recommendation. Under L.R.B.P. 2084-10(b), in the event the Debtors need more time to
 17
      resolve the issues in the Trustee's Recommendation, the remedy for the Debtors is to file an
 18
      objection to the Recommendation and set the objection for hearing. Therefore, the Trustee
 19

 20   requests that the Court deny the motion.                               Russell Brown
                                                                             2018.01.09
 21                                                                          09:59:15 -07'00'
 22                                                     Russell Brown
                                                        Chapter 13 Trustee
 23
      A copy was mailed or emailed to:
 24
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